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    13
    14                        UNITED STATES DISTRICT COURT
    15                      CENTRAL DISTRICT OF CALIFORNIA
    16
         ELI Realty Investments, LLC, a Nevada          Case No. 8:22-cv-01195-JWH (ADSx)
    17
         limited liability company; Exclusive
    18   Lifestyles SoCal, LLC, a California            Assigned to: Honorable John W.
    19   limited liability company; Exclusive           Holcomb
         Lifestyles San Francisco, Inc., a California
    20   corporation; Exclusive Lifestyles Ohio,        LIMITED OPPOSITION OF
    21   LLC, an Ohio limited liability company;        DEFENDANT ELI REATLY
         and Exclusive Lifestyles Las Vegas, LLC,       INVESTMENTS, LLC TO ORDER
    22   a Nevada limited Liability company,            GRANTING TEMPORARY
    23                                                  RECEIVER, MOTION FOR
                          Plaintiff,                    PERMANENT RECEIVER, AND
    24
                                                        AUTHORITY OF RECEIVER;
    25         vs.                                      MEMORANDUM OF POINTS
                                                        AND AUTHORITIES IN SUPPORT
    26
         Corcoran Group LLC, a Delaware limited         OF SAME
    27   liability company; DOES 1 through 10,
    28                                            -1-
            LIMITED OPPOSITION OF DEFENDANT ELI REATLY INVESTMENTS, LLC TO ORDER GRANTING
           TEMPORARY RECEIVER, MOTION FOR PERMANENT RECEIVER, AND AUTHORITY OF RECEIVER;
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     1                  Defendants.                 Date: February 24, 2023
     2                                              Time: 1:30 p.m.
         Corcoran Group LLC                         Courtroom: 9D, 9th Floor
     3
     4                  Counter claimant and
                        Third-Party Plaintiff,
     5
               vs.
     6
     7
         ELI Realty Investments, LLC; Michael
         Mahon; Pamela Mahon; MRM
     8   Investments, LLC; AIM High Capital
     9   Partners, LLC; Libertas Funding LLC;
         Matek LLC; Exclusive Lifestyles SoCal,
    10   LLC; Exclusive Lifestyles San Francisco,
    11   Inc.; Exclusive Lifestyles Ohio, LLC;
         Exclusive Lifestyles Las Vegas, LLC;
    12   Exclusive Lifestyles Tahoe, LLC; and
    13   DOES 1 – 10
    14
                        Counterclaim and Third-
    15                  Party Defendants.
    16
         Libertas Funding LLC; Michael Mahon
    17   Pamela Mahon, and MRM Investments,
    18   LLC,
    19                  Third Party
    20                  Counterclaimants,
    21
               vs.
    22
    23
         Corcoran Group, LLC,

    24                  Third Party Counterclaim
    25                  Defendant.

    26
    27
    28                                            -2-
            LIMITED OPPOSITION OF DEFENDANT ELI REATLY INVESTMENTS, LLC TO ORDER GRANTING
           TEMPORARY RECEIVER, MOTION FOR PERMANENT RECEIVER, AND AUTHORITY OF RECEIVER;
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     1            ELI Realty Investments, LLC (“ELI”) hereby submits the following limited
     2   opposition (“Limited Opposition”) to the Corcoran Group, LLC’s (“Corcoran”)
     3   Motion for Appointment of a Receivership for ELI. The Limited Opposition
     4   addresses the following:
     5            1.    ELI disputing Corcoran’s demand to grant to the Receiver (Jeremy
     6                  Faith) the right to file a bankruptcy petition for ELI;
     7            2.    Addressing an approach to preserve ELI’S pre-receivership attorney-
     8                  client privilege when the Receiver is provided to access to ELI’s
     9
                        electronically stored information (“ESI”) that includes privileged
    10
                        communications; and
    11
                  3.    Modifying all current and future requirements of ELI to incur any
    12
                        expenses relating to the Receivership as ELI has no funds and
    13
                        Defendant Michael Mahon, personally, had to contribute
    14
                        approximately $3,600 to pay for service of the notices required by the
    15
                        Order Appointing the Temporary Receivership Order.
    16
    17
                        MEMORANDUM OF POINTS AND AUTHORITIES
    18
         I.       Introductory Statement re Stipulating to a Temporary Receiver.
    19
                  Although ELI is fully cooperating with Corcoran to allow Corcoran to
    20
         exercise its rights to its collateral and stipulate to the Temporary Receiver, ELI and
    21
    22   the other defendants are reserving all rights in relation to the non-contract claims in

    23   Corcoran’s Amended Answer, Affirmative Defenses and Counterclaims (Docket

    24   No. 12)(the “Counterclaims”) and to the claims asserted by ELI in its Complaint
    25   (Docket No. 1) (the “Complaint”).
    26            Although the issues of the Receiver’s alleged authority to file a bankruptcy
    27   petition for ELI was not addressed or argued in its Memorandum of Points and
    28                                               -3-
               LIMITED OPPOSITION OF DEFENDANT ELI REATLY INVESTMENTS, LLC TO ORDER GRANTING
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     1   Authorities in Support of the Motion to Appoint a Receiver (Docket No. 106-1),
     2   the bankruptcy issue arose when negotiating the Stipulation to a Temporary
     3   Receiver. The attorney-client communication issue arose when ELI was discussing
     4   with the Receiver a process for turning over ELI’s ESI.
     5         Lastly, ELI does not have any funds to further operate or otherwise and
     6   cannot provide any further funds in relation to the Receivership. To date,
     7   Defendant Michael Mahon has been voluntarily loaning money to ELI to assist
     8   Corcoran’s efforts to obtain control of its collateral.
     9
         II.   As Corcoran’s Rights to the “Corcoran Collateral” Are Based On The
    10
               Contracts Between the Parties and Not Statutory Rights, Corcoran Did
    11
               Not Contract For The Right to File a Bankruptcy Proceeding.
    12
               A.     Corcoran’s Security Agreement and Rights to the “Corcoran
    13
                      Collateral”.
    14
               Corcoran and ELI negotiated and contracted for Corcoran’s rights under the
    15
         franchise agreements and other agreements to be secured by certain of ELI’s
    16
         tangible and intangible assets. The right to file a bankruptcy petition and to
    17
         acquire ELI’s attorney-client privilege is not identified in any of these written
    18
         documents. As noted in paragraphs 54 through 59 of the Counterclaims, Corcoran
    19
         identifies its security agreement and its collateral as follows:
    20
               “54. To secure payment and performance of ELI Realty under the ELI
    21
    22         Realty Franchise Agreement, Notes, and all other agreements of ELI Realty

    23         to Corcoran, ELI Realty granted security interests to Corcoran in certain

    24         property pursuant to that certain Security Agreement dated January 17, 2020
    25         (the "ELI Realty Security Agreement").
    26
    27
    28                                            -4-
            LIMITED OPPOSITION OF DEFENDANT ELI REATLY INVESTMENTS, LLC TO ORDER GRANTING
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     1         55.   Pursuant to the Security Agreement, ELI Realty granted Corcoran a
     2         security interest in the following property then owned or thereafter acquired
     3         by ELI Realty (the “Corcoran Collateral”):
     4         For good and valuable consideration, the receipt and sufficiency of which
     5         are acknowledged, Debtor grants to Secured Party a security interest in all
     6         accounts receivable and payment intangibles; cash proceeds; contract
     7         rights; leases; furniture; furnishings; equipment; fixtures; inventory;
     8         commissions; real estate listings, listing agreements and related rights
     9
               which are located at, utilized by or related to the real estate brokerage
    10
               business conducted by Debtor and including the proceeds therefrom and any
    11
               and all amendments or replacements thereto and any rebate/award program
    12
               (or similar incentive programs) to which Debtor and/or any Co-Debtors
    13
               may be entitled pursuant to any franchise agreement entered into with
    14
               Secured Party, together with all such rights and property hereafter acquired
    15
               by Debtor and Co- Debtors; and all general intangibles (collectively, the
    16
               “Collateral”) as well as all parts, replacements, substitutions, profits,
    17
               products and cash and non-cash proceeds of the foregoing Collateral
    18
               (including insurance and condemnation proceeds payable by reason of
    19
               condemnation of or loss or damage thereto). [Add following only for
    20
               Security Agreements filed in New Jersey - The Collateral described herein
    21
    22         falls within the scope of the Uniform Commercial Code enacted in New

    23         Jersey, including N.J.S.A. 12A:9-102 and N.J.S.A. 12A:9-109.] The

    24         foregoing Collateral is granted to Secured Party as security for (i) the
    25         prompt payment of any promissory notes executed by Debtor in favor of
    26         Secured Party, and any renewals, compromises, extensions, modifications,
    27         accelerations or other changes in the time for performance or other terms
    28                                            -5-
            LIMITED OPPOSITION OF DEFENDANT ELI REATLY INVESTMENTS, LLC TO ORDER GRANTING
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     1         (the “Notes”), and (ii) performance under any franchise agreements
     2         between Debtor and Secured Party, as the same may be amended (the
     3         “Franchise Agreements”), and (iii) all other agreements between Debtor
     4         and Secured Party.
     5         56.   The security interests granted per the ELI Realty Security Agreement
     6         were perfected by the filing of a UCC-1 Financing Statement with the
     7         Secretary of State of the State of Nevada on January 31, 2020, under number
     8         2020069173-2.
     9
               57.   At Section 1 of the ELI Realty Security Agreement, ELI Realty2
    10
               agreed as follows:
    11
               (a) Debtor will properly maintain and care for the Collateral and will not
    12
               remove the Collateral from the Offices (as defined in the Franchise
    13
               Agreements);
    14
               (b) Debtor will notify Secured Party in writing prior to any change in
    15
               Debtor's place of business;
    16
               (c) Debtor has not executed and will not execute as Debtor any security
    17
               agreement or financing statement covering any of the Collateral except with
    18
               Secured Party, nor will Debtor pledge or encumber the Collateral, or allow
    19
               any lien to be placed against the Collateral, whether voluntary or
    20
               involuntary;
    21
    22         (d) Debtor represents and warrants to Secured Party that the Collateral

    23         shall not become collateral for any other obligations previously incurred,

    24         nor collateral under any other security agreement(s) previously executed by
    25         Debtor; and
    26         (e) Debtor will not sell, contract for sale or otherwise dispose of any of the
    27         Collateral except in the ordinary course of business.
    28                                            -6-
            LIMITED OPPOSITION OF DEFENDANT ELI REATLY INVESTMENTS, LLC TO ORDER GRANTING
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     1         58.    ELI Realty’s breach of any term, provision, warranty or representation
     2         in the ELI Realty Security Agreement, the ELI Realty Franchise Agreement,
     3         or any other agreement between the parties is an “Event of Default” of the
     4         ELI Realty Security Agreement.
     5         59.    Upon an Event of Default of the ELI Realty Security Agreement,
     6         among other things, Corcoran may (i) declare all obligations secured by the
     7         ELI Realty Security Agreement immediately due and payable, and (ii)
     8         require ELI Realty to assemble the Corcoran Collateral and make it
     9
               available to Corcoran.” (Emphasis added).
    10
         See page 21, ⁋54 to page 24, ⁋ 59 of the Counterclaims (Docket No. 1).
    11
               Although ELI disputes that it is in default to Corcoran, for various reasons,
    12
         including but limited to the economics of the current real estate market, ELI agrees
    13
         and is fully cooperating with its contractual requirement to “assemble” the
    14
         Corcoran Collateral, which Corcoran has chosen to do through the appointment of
    15
         the Receiver. However, there is no provision in any of the contracts between ELI
    16
         and Corcoran that secures the obligations between the parties by transferring to
    17
         Corcoran upon an event of default the inherent rights of a Limited Liability
    18
         Company to decide if a bankruptcy petition will be filed, which is within the scope
    19
         of the fiduciary duties of certain of ELI’s members.
    20
               B.     Corcoran Does Not Have the Contractual Right to File a
    21
    22                Bankruptcy Petition on Behalf of ELI.

    23         First, ELI is not arguing that Corcoran, as a creditor, cannot commence an

    24   involuntary bankruptcy proceeding pursuant to 11 U.S.C. Section 303, et al.
    25   Although not addressed or argued in its Memorandum of Points and Authorities in
    26   Support of the Motion to Appoint a Receiver (Docket No. 106-1), in negotiating
    27   the terms of the Stipulation to Appoint a Temporary Receiver, Corcoran argued the
    28                                            -7-
            LIMITED OPPOSITION OF DEFENDANT ELI REATLY INVESTMENTS, LLC TO ORDER GRANTING
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     1   following cases in support of their claim that the Receiver should be empowered to
     2   file a bankruptcy petition: on Commodity Futures Trading Comm'n v. FITC, Inc.,
     3   52 B.R. 935, 937 (N.D. Cal. 1985); Chitex Commc'n, Inc. v. Kramer, 168 B.R. 587
     4   (S.D. Tex. 1994); In re Monterey Equities-Hillside, 73 B.R. 749 (Bankr. N.D. Cal.
     5   1987); and In re StatePark Bldg. Grp., Ltd., 316 B.R. 466, 469 (Bankr. N.D. Tex.
     6   2004).
     7           In Commodity Futures Trading Comm'n v. FITC, Inc., 52 B.R. 935, 937
     8   (N.D. Cal. 1985), the receiver was appointed based on the Commodity Futures
     9
         Trading Commission’s (“CFTC”) motion to appoint a receiver for the benefit of all
    10
         the Defendant’s investors. Although not mentioned in this case, the basis for the
    11
         appointment of a receiver by the CFTC is Commodity Exchange Act (“CEA”),
    12
         specifically 7 U.S.C. § 13a-1(a). See Klein v. Cornelius, No. 2:11CV1159DAK,
    13
         2012 U.S. Dist. LEXIS 84121, at *6-7 (D. Utah 2012)1. In this case, Corcoran is
    14
         obtaining a receiver pursuant to its individual contractual rights with ELI and not
    15
         on behalf of a governmental entity with specific statutory authority. The Receiver
    16
         here is acting on Corcoran’s behalf and not the entire body of ELI’s members and
    17
         creditors. Therefore, Commodity Futures Trading Comm'n v. FITC, Inc. does not
    18
         support granting to the Receiver the right to file a bankruptcy petition.
    19
    20
    21
         1 Klein v. Cornelius, at 6-7 (“Moreover, Defendants' position that Judge Jenkins acted
    22   improperly in appointing the Receiver is a misreading of the Commodity Exchange Act
    23   ("CEA"). The CEA allows for the appointment of a receiver, and this court has subject
         matter jurisdiction over this case because it is ancillary to the CFTC Action. 7 U.S.C. § 13a-
    24   1(a) provides that no ex parte restraining order can be issued, "other than . . . an order
         appointing a temporary receiver to administer such restraining order and to perform such other
    25   duties as the court may consider appropriate." The appointment of a receiver by ex parte
    26   application is specifically allowed by the statute and, as such, is common occurrence in CFTC
         injunction actions.” (Emphasis added).
    27
    28                                              -8-
              LIMITED OPPOSITION OF DEFENDANT ELI REATLY INVESTMENTS, LLC TO ORDER GRANTING
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     1         In Chitex Commc'n, Inc. v. Kramer, 168 B.R. 587 (S.D. Tex. 1994), a Fifth
     2   Circuit case, the Court specifically states that “authority to file a bankruptcy
     3   petition is found in state law”. Id. at 589. Corcoran has not cited to any California
     4   law, nor is ELI aware of any such authority, that grants to a receiver the right to
     5   file a bankruptcy petition where the receiver is appointed pursuant to the
     6   contractual rights between two parties. Furthermore, in Chitex, the right to file
     7   bankruptcy had already been granted to the receiver as part of prior divorce decree.
     8   Id. at 590 (“Thus, under the divorce decree, the receiver has full rights to control
     9
         the company”). Corcoran has no Court order or decree that allows the Receiver to
    10
         be granted the right to file a bankruptcy petition.
    11
               In In re Monterey Equities-Hillside, 73 B.R. 749 (Bankr. N.D. Cal. 1987),
    12
         the Court addressed a receiver appointed in relation to an action by the limited
    13
         partners of the entity to preserve the entity’s only asset, not an action by a secured
    14
         party exercising its individual rights to its collateral. Id. at 750-1. More
    15
         importantly, the Court noted that a receiver may commence a bankruptcy petition,
    16
         but if not consented to by the general partner, it must be commenced as an
    17
         involuntary bankruptcy petition pursuant to 11 U.S.C. Section 303. Id. at 752
    18
         (Since the state court authorized the receiver to manage the partnership, he also has
    19
         the authority to commence a bankruptcy case. Because the general partner does
    20
         not consent, however, he must commence the case as an involuntary case). Putting
    21
    22   aside the fact that in Monterey the receiver was appointed to manage the

    23   partnership, versus the Receiver’s appointment in this case is to preserve the

    24   Corcoran Collateral and enforce Corcoran security interests, ELI is not seeking to
    25   have this Court restrict whatever rights Corcoran or the Receiver have to
    26   commence an involuntary bankruptcy petition.
    27
    28                                            -9-
            LIMITED OPPOSITION OF DEFENDANT ELI REATLY INVESTMENTS, LLC TO ORDER GRANTING
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   1         Lastly, Corcoran cites to In re Statepark Bldg. Grp., Ltd., 316 B.R. 466, 470
   2   (Bankr. N.D. Tex. 2004). In Statepark, the Court addressed a situation where the
   3   entire partnership was placed into receivership for judicial dissolution pursuant to
   4   Texas law. Id. 470-471. The Court noted that “under Texas law”, the appointment
   5   of a “general” receiver displaces and supersedes the entire management of the
   6   entity. Id. (“Because the Debtors are entities created under state law, the Court
   7   must look to state law to determine the authority issue”). In this case, the Receiver
   8   is appointed in relation to Corcoran’s individual rights to its collateral and not the
   9
       dissolution of ELI. Corcoran has not cited any California case law or statutes that
  10
       mirror the Texas state law cases cited.
  11
             In summary, Corcoran and the Receiver have every right to commence an
  12
       involuntary bankruptcy petition. There is no provision in any of the contracts
  13
       between the parties that granted to Corcoran the right to file a bankruptcy petition
  14
       or to seek to judicially dissolve ELI upon an event of default. Furthermore, the
  15
       Receivership is based on the “Receivership Assets”, which are the “Corcoran
  16
       Collateral”. Therefore, the Receiver should not be authorized to commence a
  17
       voluntary bankruptcy petition without the proper consent of the ELI members
  18
       pursuant to its operating agreement.
  19
             C.     The Appointment of the Receiver Does Not Waive ELI’s
  20
                    Attorney-Client Privilege.
  21
  22         The issue of the waiver of the attorney-client privilege did not arise prior to

  23   execution of the Stipulation to Appoint the Receiver. Rather, it became apparent

  24   during cooperation with the Receiver that the wholesale production of ELI’s ESI to
  25   the Receiver would implicate the attorney-client privilege as the ESI includes
  26   privileged emails. The Receiver and his counsel cited the following cases and took
  27   position that the Receiver now holds and controls the privilege; SEC v. Ryan, 747
  28                                           -10-
          LIMITED OPPOSITION OF DEFENDANT ELI REATLY INVESTMENTS, LLC TO ORDER GRANTING
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   1   F. Supp. 2d 355, 368 (N.D.N.Y. 2010); CFTC v. Standard Forex, Inc., 882 F.
   2   Supp. 40, 44 (E.D.N.Y. 1995).
   3         As argued above in relation to the bankruptcy issues, both of these cases
   4   address the Court appointing a receiver pursuant to a request by a governmental
   5   entity, on behalf of the entire entity and based statutory authority. In SEC v. Ryan,
   6   the Court noted that the receive succeeded all current management of the entity and
   7   acts with the full force of the law as its sole representative. SEC v. Ryan, 747 F.
   8   Supp. 2d at 362. The Receivership Estate and Receivership Assets are defined in
   9
       paragraphs 2 and 3 (pages 3-4) of the Stipulated Order to Appointment of
  10
       Temporary Receivership (Docket No. 113). The Receivership Estate and
  11
       Receivership Assets mirror the Corcoran Collateral identified in the Corcoran
  12
       Counterclaims (as set forth hereinabove). Corcoran did not bargain for complete
  13
       control over the management of ELI upon an event of default pursuant to its
  14
       contracts with ELI and thus cannot obtain these rights through the appointment of a
  15
       Receiver to “assemble its collateral”. Therefore, as the Receiver has not taken
  16
       over complete control over the management of ELI, it is not like a statutorily
  17
       appointed receiver under the rules of the SEC or the CFTC and is not like a
  18
       bankruptcy trustee.
  19
             ELI and the Receiver are attempting to negotiate an agreement to preserve
  20
       the privilege and resolve any disputes, and will keep the Court apprised of any
  21
  22   resolution.

  23   ///

  24   ///
  25   ///
  26   ///
  27
  28                                           -11-
          LIMITED OPPOSITION OF DEFENDANT ELI REATLY INVESTMENTS, LLC TO ORDER GRANTING
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   1   III.   CONCLUSION
   2          Based on the arguments presented hereinabove, ELI respectfully requests
   3   that the Receiver not be granted the authority to file a voluntary bankruptcy
   4   petition on behalf of ELI and that all future obligations to be incurred in relation to
   5   administrative costs of the Receivership be paid/incurred by the Receivership
   6   Estate.
   7
   8   Dated: February 10, 2023                Respectively Submitted,
   9
                                               GOE FORSYTHE & HODGES LLP
  10
  11
                                        By:    /s/ Marc C. Forsythe
  12                                           Marc C. Forsythe, Attorneys for ELI Realty
  13                                           Investments, LLC, Michael Mahon and
                                               Pamela Mahon
  14
  15
  16   Dated: February 10, 2023                STRADLING YOCCA CARLSON &
                                               RAUTH
  17
  18
                                        By:    /s/ Steve M. Hanle
  19
                                               Steve M. Hanle, Attorneys for ELI Realty
  20                                           Investments, LLC, Michael Mahon and
  21                                           Pamela Mahon

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  28                                           -12-
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   1                        LOCAL RULE 5-4.3.4 ATTESTATION
   2         I attest that the above listed counsel concurs in this filing’s content and has
   3   authorized the filing, including the use of digital signatures for counsel.
   4
                                             /s/ Marc C. Forsythe
   5                                        Marc C. Forsythe
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   1                            PROOF OF SERVICE OF DOCUMENT
   2   I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
       address is: 17701 Cowan, Suite 210, Bldg. D, Irvine, CA 92614
   3
       A true and correct copy of the foregoing document entitled (specify): LIMITED OPPOSITION OF
   4   DEFENDANT ELI REATLY INVESTMENTS, LLC TO ORDER GRANTING TEMPORARY RECEIVER,
       MOTION FOR PERMANENT RECEIVER, AND AUTHORITY OF RECEIVER; MEMORANDUM OF
   5   POINTS AND AUTHORITIES IN SUPPORT OF SAME will be served or was served (a) on the judge in
       chambers in the form and manner required by Local Rules in the manner stated below:
   6
       1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
   7   controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
       hyperlink to the document. On (date) February 10, 2023, I checked the CM/ECF docket for this
   8   bankruptcy case or adversary proceeding and determined that the following persons are on the Electronic
       Mail Notice List to receive NEF transmission at the email addresses stated below:
   9
  10                                                         Service information continued on attached page

  11   2. SERVED BY UNITED STATES MAIL:
       On (date) February 10, 2023, I served the following persons and/or entities at the last known addresses in
  12   this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
       envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the
  13   judge here constitutes a declaration that mailing to the judge will be completed no later than 24 hours
       after the document is filed.
  14
  15                                                         Service information continued on attached page

  16   3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL
       (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on
  17   (date) February 10, 2023, I served the following persons and/or entities by personal delivery, overnight
       mail service, or (for those who consented in writing to such service method), by facsimile transmission
  18   and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on, or
       overnight mail to, the judge will be completed no later than 24 hours after the document is filed.
  19
              The Honorable John W. Holcomb, USDC, 411 West Fourth Street, Ctrm 9D, Santa Ana, CA
  20           92701

  21
                                                             Service information continued on attached page
  22
       I declare under penalty of perjury under the laws of the United States that the foregoing is true and
  23   correct.

  24    February 10, 2023                Susan C. Stein                      /s/Susan C. Stein
        Date                     Printed Name                                Signature
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  26
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  28                                           -14-
          LIMITED OPPOSITION OF DEFENDANT ELI REATLY INVESTMENTS, LLC TO ORDER GRANTING
         TEMPORARY RECEIVER, MOTION FOR PERMANENT RECEIVER, AND AUTHORITY OF RECEIVER;
                    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF SAME
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                                 #:3401


   1
   2   Mailing Information for a Case 8:22-cv-01195-JWH-ADS ELI Realty
   3   Investments, LLC et al v. Corcoran Group, LLC et al
   4   Electronic Mail Notice List
   5   The following are those who are currently on the list to receive e-mail
       notices for this case.
   6
             Jason H Anderson
   7          janderson@stradlinglaw.com,kkirkpatrick@stradlinglaw.com,smjohns
   8          on@stradlinglaw.com,kmilanowski@stradlinglaw.com
   9         Geoffrey M. Davis
  10          gdavis@gdavislegal.com

  11         Daniel M. Eliades
              Daniel.Eliades@klgates.com
  12
             Marc C Forsythe
  13
              mforsythe@goeforlaw.com,kmurphy@goeforlaw.com
  14
             Kevin Barnett Frankel
  15          kfrankel@mcguirewoods.com,dmlamb@mcguirewoods.com,JTabisa
  16          ura@mcguirewoods.com
  17         Tanya Greene
  18          tgreene@mcguirewoods.com,kghalambor@mcguirewoods.com,USD
              ocket@mcguirewoods.com
  19
             Steven M. Hanle
  20          shanle@stradlinglaw.com,jcrummett@stradlinglaw.com
  21
             Jonathan Peter Hersey
  22          jonathan.hersey@klgates.com,connie-marie.pruitt@klgates.com
  23         Damon M. Pitt
  24          damon.pitt@klgates.com,Shelley.Cossitt@klgates.com,Ashley.Russe
              ll@klgates.com
  25
  26
             Ahmad Said Takouche
              atakouche@stradlinglaw.com,kmilanowski@sycr.com
  27
  28                                           -15-
          LIMITED OPPOSITION OF DEFENDANT ELI REATLY INVESTMENTS, LLC TO ORDER GRANTING
         TEMPORARY RECEIVER, MOTION FOR PERMANENT RECEIVER, AND AUTHORITY OF RECEIVER;
                    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF SAME
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                                 #:3402


   1        William L. Waldman
   2         William.waldman@klgates.com
   3        Jenny Yi
             jyi@mcguirewoods.com,izabala@mcguirewoods.com,DMLamb@mc
   4
             guirewoods.com,USDocket@mcguirewoods.com
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         LIMITED OPPOSITION OF DEFENDANT ELI REATLY INVESTMENTS, LLC TO ORDER GRANTING
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